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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3035
           v.                        )
                                     )
JOSE ENRIQUE AYALA CHAVEZ,           )
                                     )                   ORDER
                Defendant.           )
                                     )



     On May 16, 2005, defendant was given 10 days to obtain
substitute counsel or request appointment of counsel. Filing 17.
The defendant has not complied with the order.

     IT THEREFORE HEREBY IS ORDERED,

     A hearing is set for June 1, 2005 at 10:30 a.m. for the
purpose of inquiring as to counsel for the defendant.


     DATED this 27th day of May, 2005.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
